Case 1:21-cr-00003-RCL Document18 Filed 03/04/21 Page 1 of 19

IN THE UNITED STATES DISTRICT COURT

DISTRICT OF COLUMBIA
UNITED STATES OF AMERICA )
Plaintiff,
V. Case no. 1:21-cr-00003-RCL-1
JACOB ANTHONY CHANSLEY,
Defendant.

DEFENDANT’S REPLY TO GOVERNMENT’S RESPONSE IN OPPOSITION
TO DEFENDANT’S MOTION FOR PRETRIAL RELEASE

Comes now Defendant, Jacob Chansley, by and through his undersigned counsel, and for
Defendant’s Reply to Government’s Response to Defendant’s Motion for Pretrial Release, states
to the Court as follows:

1. The Government’s Response to Defendant’s Motion for Pretrial Release mandates reply.

THE GOVERNMENT’S ASSERTION THAT DEFENDANT WAS “LEADING THE
CHARGE” INTO THE UNITED STATES CAPITOL IS FALSE

2. Concisely put, the Government has falsely characterized the Defendant as having “[led]
the charge into the United States Capitol.” See p. 1, 2d par., 1 sentence of Opposition to
Defendant’s Emergency (sic) Motion for Pre-Trial Release.

3. Indeed, the Government has put forth its false characterization in a misguided attempt to
have the Court embrace the Defendant as a ringleader of those with nefarious schemes at play.
Unfortunately for the Government, the existence of countless miles of video footage exists to
memorialize the events of January 6, 2021.

4. This video footage, when superimposed on the timeline of events of January 6, 2021,

paints a clear and concise picture of the Defendant, namely one whose presence at the United
Case 1:21-cr-00003-RCL Document 18 Filed 03/04/21 Page 2 of 19

States Capitol on January 6, 2021 was anything but that which could be defined as exhibiting a
leadership position as it related to the “charge into the United States Capitol.”

5. Without belaboring the Defendant’s obvious absence of any sartorial or other trait which
could remotely be associated with “leading” anyone anywhere, the memorialized video footage
of the Defendant on January 6, 2021 instead depicts a Shamanic wardrobe donned by an
enthusiastic, energized youthful man with red, white and blue face paint.

6. Wikipedia has established and published a timeline of events of January 6, 2021.
https://en.wikipedia.org/wiki/Timeline of the 2021 storming of the United States Capitol

7. The Defendant attended the rally and was present at the Ellipse for the entirety of former
President Trump’s rally speech.

8. Relying on the Wikipedia timeline, former President Trump (“Trump”) commenced his
speech at the Ellipse at high noon Eastern Time and immediately commenced his oft rehearsed
diatribe that the election was stolen, criticizing Vice President Mike Pence by name a half-dozen
times, accusing fellow Republicans of not doing enough to back up his allegations, and stating
that he would walk with the crowd to the Capitol, though he opted instead to retire to the White
House immediately after the speech to watch some daytime television.

9. During Trump’s rally speech, at approximately 12:30 p.m. Eastern Time crowds of
people commenced gathering outside the U.S. Capitol building. This constituted the first wave of
people at the Capitol.

10. Before the conclusion of Trump’s rally speech, at 12:53 p.m. Eastern Time, those who
were already at the United States Capitol overwhelmed police along the outer perimeter west of

the Capitol building, pushing aside temporary fencing.
Case 1:21-cr-00003-RCL Document18 Filed 03/04/21 Page 3 of 19

11. By 1:03 p.m. Eastern Time, a number of individuals overran three layers of barricades
and forced police officers to the base of the west Capitol steps.

12. The Defendant was at the Ellipse during the entirety of Trump’s rally speech.

13. At 1:10 p.m. Eastern Time, Trump ended his rally speech by encouraging the crowd to
march to the Capitol: "We’re going to try and give them [Republicans] the kind of pride and
boldness that they need to take back our country."

14. At 1:30 p.m. Eastern Time, Capitol Police were overwhelmed and forced to retreat up the
steps of the Capitol. This was the second wave.

15. Also, at 1:30 p.m. Eastern Time, large numbers of Trump supporters, including the
Defendant, commenced their march-stroll from the Ellipse 1.5 miles down Pennsylvania Avenue
toward the Capitol. This was the third wave.

16. Video footage was acquired by Defendant’s counsel’s investigator, a recently retired FBI
Special Agent with a decades’ tenure with the Bureau. A true and correct copy of the blacklined
investigator’s interview report memorializing the video procurement is attached hereto,
incorporated herein by reference, and marked Exhibit A. A true and correct copy of the
curriculum vitae of the retired special agent is attached hereto, incorporated herein by reference,
and marked Exhibit B.

17. The video footage referenced in the attached Exhibit A depicts the Defendant at
approximately 1:30 p.m. Eastern Time clearly situated on Pennsylvania Avenue among the
throngs of the second wave of the Trump rally speech attendees heading toward the United
States Capitol directly in front of the National Museum of American History, being
geographically positioned 1.2 miles away from the United States Capitol (being a 25-minute

walk, per Google).
Case 1:21-cr-00003-RCL Document18 Filed 03/04/21 Page 4 of 19

18. A link to the footage referenced in the attached Exhibit A is as follows:
https://documentcloud.adobe.com/link/track ?uri=urn:aaid:scds:US:d4cdb175-329d-4f8d-b070-
e3ca5dc503d6

19. In viewing the immediately preceding link to footage, the Defendant is not walking, but
rather, dallying, celebrating “freedom” by hollering the word with a bellowing tenor, interrupted
from time-to-time to permit others in the crowd to take selfies with the smiling, graciously
accommodating and nattily clad Shaman.

20. By the time the Defendant arrived at the United States Capitol, being at approximately
2:15 p.m. Eastern Time, the Defendant walked up the steps as Capitol Police were walking down
the steps, stating, “The building is yours.” The following link to a widely published video depicts
the police as they proclaimed, “The building is yours” with the Defendant, in all his Shamanic
splendor, casually walking by them up the steps among a crowd of similarly peaceful people
climbing the same steps to enter the United States Capitol. Video footage of Defendant’s
walking up of the steps of the Capitol as Capitol Police descend is available here:
https://www.youtube.com/watch?v=Bx VSFagSMGM&t=3s

21. At 4:17 p.m. Eastern Time, Trump uploads a video to his Twitter denouncing the riots,
but maintaining the false claims that the election was stolen. In the video he says:

"IT know your pain, I know you're hurt. We had an election that was stolen from us. It
was a landslide election and everyone knows it, especially the other side. But you
have to go home now. We have to have peace. We have to have law and order. We
have to respect our great people in law and order. We don't want anybody hurt. It's a
very tough period of time. There's never been a time like this where such a thing

happened where they could take it away from all of us — from me, from you, from
Case 1:21-cr-00003-RCL Document 18 Filed 03/04/21 Page 5 of 19

our country. This was a fraudulent election, but we can't play into the hands of these
people. We have to have peace. So go home. We love you. You're very special.
You've seen what happens. You see the way others are treated that are so bad and so
evil. I know how you feel, but go home, and go home in peace.”

22. The following link access a video depicting the Defendant assisting law enforcement in
directed people, at the behest, albeit belated, tweeted request of Trump:
https://www.youtube.com/watch?v=emggK yR65Zg

23. The foregoing videos display the Defendant following, not leading, the “charge” into the
United States Capitol.

24. At 6:01 p.m. Eastern Time Trump tweeted,

"These are the things and events that happen when a sacred landslide election victory
is so unceremoniously & viciously stripped away from great patriots who have been
badly & unfairly treated for so long. Go home with love & in peace. Remember this
day forever!"

25. Indeed, as Defendant sits in solitary confinement, he knows he shall remember the 6" day
of January, 2021 forever.

GOVERNMENT CITES TWO CASES IN WHICH DEFENDANTS PARTICIPATING IN
JANUARY 6, 2021 EVENTS AT THE UNITED STATES CAPITOL HAVE BEEN
DENIED RELEASE

26. All video footage garnered by the Defense counsel to date depict the Defendant at all
times maintained the flag pole in a respectful non-offensive fashion, never using same in a
threatening or menacing manner. The Government has not disclosed or supported the proposition

that the flag and flag pole constituted a weapon.
Case 1:21-cr-00003-RCL Document 18 Filed 03/04/21 Page 6 of 19

27. The Government has cited two cases of criminally accused defendants whose requests for
pretrial release were denied. Both of the cited defendants can easily be distinguished from the
peaceful Defendant herein.

28. One of the two cases cited was that which involved William Chrestman. The Department
of Justice published a press release corresponding to Chrestman which reads in paraphrased
salient part:

29. According to the indictment, Chrestman, Kuehne, Colon, and Ashlock were members of
the Kansas City Chapter of the Proud Boys, a group self-described as a “pro-Western fraternal
organization for men who refuse to apologize for creating the modern world; aka Western
Chauvinists.” Chrestman, Kuehne, Colon, and Ashlock all traveled to Washington, D.C. from
the Kansas City metropolitan area. On January 6, 2021, they met with other Proud Boys on the
National Mall. Felicia Konold and Cory Konold traveled, met up with the group, and traveled
with them to the Capitol. The indictment alleges that the defendants planned with each other, and
with others known and unknown, to enter the Capitol forcibly on January 6, and to stop, delay,
and hinder the Congressional proceeding occurring that day. The defendants brought and wore
paramilitary gear and supplies—including camouflaged combat uniforms, tactical vests with
plates, helmets, eye protection, and radio equipment, and affixed orange tape to their clothing
and tactical gear to identify each other. The defendants marched with other members of the
Proud Boys to the Capitol and forcibly stormed past exterior barricades, U.S. Capitol Police
officers, and law enforcement officers, before all but Ashlock entered the Capitol. The
indictment also alleges that Chrestman faced the crowd of rioters on the Plaza, including
Kuehne, Colon, Ashlock, Felicia Konold, and Cory Konold, and shouted, “Whose house is this?”

The crowd responded, “Our house!” Chrestman shouted, “Do you want your house back?” The
Case 1:21-cr-00003-RCL Document 18 Filed 03/04/21 Page 7 of 19

crowd responded, “Yes!” Chrestman shouted back, “Take it!” Chrestman shouted at a Capitol
Police officer who was preparing to fire non-lethal projectiles to protect the Capitol, “You shoot
and I’ll take your fucking ass out!” Felicia Konold shouted to the crowd of rioters to “fight for
America” while the crowd was held at the Plaza. Chrestman, Kuehne, Colon, Felicia Konold,
and Cory Konold proceeded into the Capitol building and attempted to disable crash barriers --
barriers that descend from the ceiling to the floor, which Capitol Police used to try to prevent
rioters from advancing further into the Capitol building.

30. The second of the two cases cited related to Peter Francis Stager who is accused of using
a “deadly or dangerous weapon,” to “forcibly assault, resist, impose, impede, intimidate and
interfere with an officer.” Stager is accused of attacking a Washington police officer. FBI agents
at the D.C. field office identified Stager in videos after they were posted on Twitter. Another
video shows an interview Stager conducted where he points toward the Capitol building and says
"death is the only remedy for what's in that building."

31. The Defendant herein was not violent. He had no colleagues with him. He did not shroud
himself in secrecy. He did not wear a bullet-proof vest and cammo gear. In fact, he wore no shirt
at all. He had no zip ties. He had no pipe bomb. He wore no riot helmet, no tactical goggles, had
no gun, no pepper spray, no gas mask. He was not destructive. He was not threatening. He did
not overcome police lines or barriers. He did not speak words of violence. He admonished others
in the Capitol to respect law enforcement. He admonished others to go home when Trump finally
tweeted it was time to go home. He said a prayer. He was happy. He was smiling. He chatted

with others. He chatted with law enforcement. All that was missing was an organic coffee klatch.
Case 1:21-cr-00003-RCL Document 18 Filed 03/04/21 Page 8 of 19

GOVERNMENT MISCHARACTERIZES NOTE TO FORMER VICE-PRESIDENT
PENCE

32. The note written by the Defendant and left for former Vice-President Pence read, “It is
only a matter of time justice is coming.”

33. In addition to but not to replicate that which was proactively set forth in Defendant’s
present Motion for Pretrial Release, the Government, again, mischaracterizes facts. The
Government’s own discovery released herein specifically notes the Defendant’s immediate
denial of threatening intent behind the note when Defendant voluntarily and cooperatively
responded to inquiries propounded upon Defendant by federal law enforcement at the time of the
Defendant’s peaceful and voluntary surrender to authorities.

34. The text of Defendant’s Motion for Pretrial Release herein painstakingly links the words
on the note Defendant left for former Vice-President Pence to the words spoken by Trump
during his rally speech at the Ellipse.

35. The Government’s citation of words spoken by Defendant in different settings and
contexts simply supports the proposition that the Defendant has exercised his right to freedom of
speech in a fashion consistent with the proposition that the Defendant heeded the words of the
President, believed the words of the President, and did that which the President told him to do.

DEFENDANT HAS NOT HIDDEN BEHIND THE FORMER PRESIDENT

36. Remarkably, the Government attempts to characterize the Defendant as hiding behind
Trump. In fact, as a matter of record, the Defendant has traversed significant introspective
ground since being confined. The Defendant spoke openly, honestly freely and voluntarily to law

enforcement at the time of his peaceful appearance at the FBI offices in Phoenix.
Case 1:21-cr-00003-RCL Document18 Filed 03/04/21 Page 9 of 19

37. The Defendant directed his counsel to publicly request a pardon from then President
Trump to permit the former President to “do the honorable thing” and pardon the Defendant and
other similarly situated peaceful people.”

38. When the former President’s term expired and no pardon was granted, the Defendant
reflected on the pardoning of Lil’ Wayne and other beneficiaries of Trump’s pardon largesse and
thereafter permitted the public disclosure of his “deep disappointment” with Trump.

39. Thereafter, the Defendant publicly owned his actions, apologized for them, and in a
public release, express regret and remorse, stating unequivocally his actions were “wrong.”

AQ. The Defendant did not apologize or express regret or remorse with a caveat. The
Defendant has not placed blame at the feet of Trump.

41. The words and actions of Trump speak for themselves. The effect of the words and
actions of Trump are a matter of permanent and comprehensive record in the U.S. Senate as part
of the one article impeachment trial conducted this year.

42. While the legal implications of the words and actions of Trump have cut a wide but
highly uncertain and rough-edged swath.

43. The Defendant has apologized.

44. Trump has not.

45. The Defendant owns his actions.

46. Trump has not.

47. The Defendant is remorseful.

48. Trump is not.
Case 1:21-cr-00003-RCL Document18 Filed 03/04/21 Page 10 of 19

49. The Defendant, like millions of Americans, is traversing a path away from the
propaganda induced world of what became a very real world of make-believe back to a world of
truth, reality, integrity and complete sentences.

50. Trump has not.

51. More accurately, Trump is hiding behind the Defendant, and other similarly situated
peaceful people.

WHEREFORE, Defendant prays this Honorable Court issue an Order directing the
release of the Defendant pending trial herein and for such other and further relief as the Court

deems just and appropriate in the circumstances.

Respectfully Submitted,

KODNER WATKINS, LC

By: _/s/ Albert S. Watkins
ALBERT S. WATKINS, LC DC#399625
7733 Forsyth Boulevard, Suite 600
Clayton, Missouri 63105
(314) 727-9111
(314) 727-9110 Facsimile
albertswatkins@kwklaw.net

CERTIFICATE OF SERVICE

Signature above is also certification that on March 4, 2021, a true and correct copy of the
foregoing was electronically filed with the Clerk of the Court utilizing the CM/ECF system which
will send notification of such filing to all parties of record.

10
Case 1:21-cr-00003-RCL Document18 Filed 03/04/21 Page 11 of 19

EXHIBIT A
Case 1:21-cr-O0003-RCL Document 18 Filed 03/04/21 Page 12 of 19

Shamrock Global, LLC

Report of Interview

Interview of Gi iz.

Date of Interview: January 18, 2021 (Telephonic)
Drafted By: Kevin Cosentino
Case ID: Jacob Chansley

QUE tc!e phone 812-575-7530 was advised of the identity of this writer and the nature
of the interview. oj lives in the Evansville, Indiana area. ii provided the following information:

@gmme stated he was in Washington DC attending a Trump rally on January 6, 2021 and recorded
video of whom he now knows to be Jacob Chansley. eli advised he would provide a copy of this
video to this writer.

GEER stated the first video he recorded on his cell phone was taken after the rally concluded
and everyone was migrating toward the Capital Building (approximately 1:20 p.m. to 1:30 p.m.)
stated he zoomed in on Chansley who was taking a “selfie” with a woman and yelling the word
“Ereedom” which @iligmthought was from the movie, Braveheart.

ged noted that in the first video, at the 1:55 mark of the recording, his wife says “there goes
the presidential limousine” referring to President Trump leaving the rally.

@itiiie stated the second video he recorded was taken about twenty minutes later wherein he
(@Be) zoomed in on the Capital Building to show how many people had gathered there (Gag is still
many blocks away from the Capital). Qi stated at this time, it was his understanding that the Capital
Building had already been breached and claimed that there is no way Chansley could have made it to
the Capital Building in time to have been part of any violent breach.

Glam stated his cellphone videos may be time stamped in Central Time, but he is not sure.
@@mmpis of the belief that many people were later allowed in to the Capital Building and

Chansley “followed suit.” re believes that Chansley’s attire makes him easy to recognize and
politically prosecute.
Case 1:21-cr-00003-RCL Document 18 Filed 03/04/21 Page 13 of 19

EXHIBIT B
Case 1:21-cr-O0003-RCL Document 18 Filed 03/04/21 Page 14 of 19

KEVIN COSENTINO

DiGi me pane thera
Education:

Bachelor of Science Degree in Accounting, University of Illinois

Professional Certification:
Certified Public Accountant (CPA), American Institute of Certified Public Accountants

Associate in Premium Auditing (APA), Insurance Institute of America

Professional Experience:

Shamrock Global, LLC — Owner Present

Shamrock Global is a limited liability company which provides consulting, and
investigative services to law firms. Services include document review, financial analysis,
witness interviews, and other services as directed by Counsel.

Fidelity Consultants, LLC — Partner Present

Fidelity Consultants is a limited liability company which provides investigative and
audit review services to the Roman Catholic Church and related Dioceses and Religious

Orders.
Chenega Corporation — Senior Financial Investigator April 2018 — January 2019

Worked as a contract Senior Financial Investigator assigned to the Federal Bureau of
Investigation, St. Louis, Division. Responsibilities included working with the FBI’s Drug
and Organized Crime Squads and the U.S. Attorney’s Office in seeking Administrative,
Criminal, and Civil forfeiture with emphasis on criminal forfeiture money judgements,
substitute assets, and seizure of facilitating property.

Federal Bureau of Investigation — Special Agent January 1991 — March 2018

Created the first FBI Health Care Fraud Task Force (HCFTF) in the St. Louis Division to
investigate Medicare and private insurance billing fraud. The HCFTF included Agents
from the U.S. Department of Health and Human Services, Office of Inspector General,
United States Postal Inspection Service, National Insurance Crime Bureau, and private
insurance Special Investigative Units (SIU’s). Worked with Medicare intermediaries and
the United States Attorney’s Office to successfully investigate and prosecute numerous
health care fraud cases in the Eastern District of Missouri. Familiar with ICD-10 and CPT

manuals.
Case 1:21-cr-00003-RCL Document18 Filed 03/04/21 Page 15 of 19

COSENTINO 2

Served on the White-Collar Crime Squad for over 18 years specializing in highly complex
financial fraud and money laundering investigations. Case Agent on numerous mail and
wire fraud, bank fraud, public corruption, and investment fraud cases to include the largest
Ponzi scheme in St. Louis history (U.S. vs. Martin Sigillito) which was also featured on
CNBC’s American Greed. Case Agent on the first stock option backdating case to be
successfully prosecuted in the United States (U.S. vs. Engineered Support Systems, Inc.).
Case Agent on the ACORN voter registration fraud investigation which led to numerous
indictments and national publicity highlighting voter registration fraud. Led the White-
Collar Crime squad in arrests, convictions, and forfeiture seizures. Regularly worked with
the U.S. Attorney’s Asset Forfeiture Unit. Asset forfeitures on U.S. vs. Sigillito include
over 800 valuable items (antique books and maps, jewelry, ancient artifacts, Persian rugs,
rare cognac and whiskey, vehicles, and a vacation home) seized during multiple search
warrants. As Case Agent on U.S. vs. Don Weir, (see “Plot of Gold” St. Louis Riverfront
Times), thousands of precious metal coins worth nearly $6 million were seized and
forfeited to the U.S. Government.

Collaborated with the U.S. Attorney’s Office, and numerous other federal, state, and local
law enforcement agencies in the successful prosecution of numerous individuals and
corporations. Assisted the U.S. Attorney’s Office with trial and motions hearing
preparation, exhibits, expert witness selection, and testimony.

As Chief Security Officer (CSO) of the FBI’s St. Louis Division, responsibilities included
management of personnel security, information security, physical security, and operations
security. Duties included conducting personnel security interviews, security briefings and
debriefings, physical protection of classified and sensitive information, SCIF accreditation,
and preparation of emergency operations and continuity of operations plans. Duties also
included supervising nine uniformed guards, one Personnel Security Specialist, and one
Information System Security Officer. Created a Protest / Demonstration Action Plan to
manage and address planned or spontaneous demonstrations at FBI facilities as a result of
the 2014 civil unrest in Ferguson, Missouri.

Served as the Coordinator of the St. Louis Metropolitan Fugitive Task Force (SLMFTF)
for 5 years supervising 12 local and state police officers assigned to the team. The SLMFTF
accumulated over 1000 violent felony arrests in St. Louis City and County and Jefferson
County. Served as Acting Supervisor of the Violent Crime Major Offender Squad
throughout the same 5-year period working and supervising violent crime cases including
bank robberies and kidnappings. During this time period, was responsible for planning and
executing the rescue of a newborn infant kidnapped from a hospital in Kansas City, Kansas,
and transported by the kidnappers to Jefferson County, Missouri. Also helped create a
weekly television news segment, St. Louis’ Most Wanted, with Fox 2 News reporter Don
Lemon, which profiled local violent fugitives. Case Agent on the notorious Dennis Rabbitt
fugitive investigation. Rabbitt, also known as the “South Side Rapist” was wanted for
attacking over two dozen St. Louis area women over a ten-year period. The investigation
involved working with the FBI’s Behavioral Analysis Unit and profiling the case on
America’s Most Wanted (AMW). Rabbitt was captured by authorities in Albuquerque,
New Mexico a day after AMW aired.

Served on the St. Louis Division FBI SWAT (SL SWAT) team for 8 years, including 2
Case 1:21-cr-0O0003-RCL Document 18 Filed 03/04/21 Page 16 of 19

COSENTINO 3

years as Senior SWAT Team Leader. Duties included planning, coordinating, and
executing numerous high-risk arrests and search warrant entries for a team of twelve
operators. Duties also included providing monthly firearms and tactical training for
members of the team. Responsibilities also included providing advance teams and
protection details for the U.S. Attorney General and Director of the FBI. Worked with the
St. Louis Metropolitan Police Hostage Rescue Team and the St. Louis County Police
SWAT Team in joint training scenarios and real time operations. Worked with the St. Louis
Airport Police in developing a joint terrorist response plan subsequent to the September
11, 2001 terrorist attacks. As a member of the SL SWAT team, was responsible for
terrorism response at the 1996 Olympics in Atlanta, Georgia. SL SWAT was the first team
to arrive and secure the scene of the bombing in Centennial Park, later performing grid
searches in the Nantahala National Forest in search of bombing suspect Eric Rudolph.

Served as a Counselor to over 300 local, state, and international law enforcement
executives at the FBI National Academy (NA), Session 238. Counselors serve as mentors
and role models to NA students and assist with the rigors of classroom training, physical
training, and the demands that arise from being away from home for 10 weeks. Counselors
are also responsible for dispute resolution, and the consistent adherence and enforcement
of established academy rules. Additionally, Counselors ensure NA students have access
to cultural enrichment, as well as social functions and activities.

Served as a member of the FBI’s Joint Terrorism Task Force (JTTF) investigating
International and Domestic Terrorism cases. Served as Case Agent on the New Black
Panther investigation wherein two members of the group attempted to purchase explosive
devices in order to target St. Louis law enforcement officials involved in the Ferguson,
Missouri unrest. Maintained a Top-Secret Security Clearance with SCI accesses of SI, TK,

G, and H.

Wausau Insurance Companies — Senior Field Auditor January 1985 — January 1991

Duties included performing methodical examinations of an insured’s operations, records,
and books of account to determine the actual insurance exposure for the coverages provided
and concluding with a precise report of the findings. The policy coverages included
Worker’s Compensation, General Liability, Product Liability, Trademark, Automobile,
and Fire. Internal duties included interaction with Sales Representatives, Property and
Casualty Underwriters, Loss Control Engineers, and Senior Managers.

Professional Training:

September 2018 Federal Inter-Agency Forfeiture Summit — Drug Enforcement
Administration, St. Louis, Missouri.

February 2015 Specialized Asset Forfeiture Training — Financial Institution Fraud Unit —
Federal Bureau of Investigation and U.S. Attorney’s Office, Eastern
District of Missouri.

July — Sept. 2013 Advanced Counterterrorism Investigations and Operations
Case 1:21-cr-O0003-RCL Document18 Filed 03/04/21 Page 17 of 19

July 2004

July 2003

July 2001

February 2001

August 2000

September 2000

May 1999

January 1999

August 1998

August 1998

November 1995

July 1991

April 1991

COSENTINO 4

Training — Federal Bureau of Investigation, Counterterrorism Division.

Bank Fraud Investigation and Prosecution — Federal Bureau of
Investigation, Financial Crimes Division, White Collar Crime Unit.

Advanced Hostage Rescue Course — CSAT, U.S. Army Ist Special Forces
Operational Detachment — D.

Chemical Agent Instructor School — Federal Bureau of Investigation,
Critical Incident Response Group.

International Fugitive Investigation Training — Toronto Police Service,
Toronto, Canada.

Emergency Vehicle Pursuit Training Course — Missouri State Highway
Patrol, Training Division, Jefferson City, Missouri.

Tactical Emergency Medical Technician — Counter Narcotics and
Terrorism Operational Medical Support (CONTOMS), Department of the
Interior, United States Park Police, Washington, DC.

Special Weapons and Tactics Training Course — Federal Bureau of
Investigation, SWAT Training Unit.

FBI Street Survival School — Federal Bureau of Investigation, Critical
Incident Response Group.

FBI Fitness Instructor School — U.S. Olympic Training Center, Colorado
Springs, Colorado.

Emergency Medical Technician (Basic) — National Registry of Emergency
Medical Technicians.

Health Care Fraud Training Conference — Federal Bureau of Investigation
and National Health Care Anti-Fraud Association.

FBI Firearms Instructor School — Federal Bureau of Investigation,
Firearms Training Unit.

Tactical and Evasive Vehicle Operations Course (TEVOC) — Federal
Bureau of Investigation, Training Division.

Awards Received:

April 2015

Citation for Special Achievement — Federal Bureau of Investigation,
Director’s Office, for the successful investigation and prosecution of
members of the New Black Panther Party.
Case 1:21-cr-O0003-RCL Document18 Filed 03/04/21 Page 18 of 19

February 2015

November 2012

October 2012

October 2009

October 2008

October 2007

August 2007

September 2005

October 2002

September 1999

June 1993

COSENTINO 5

Citation for Special Achievement — Federal Bureau of Investigation,
Director’s Office, for the successful investigation of a Counterterrorism
matter resulting in the arrest of 6 subjects charged with providing material
support to terrorists.

Award for Commitment to the Pursuit and Prosecution of Health Care Fraud
— Special Investigative Unit, Blue Cross Blue Shield, St. Louis, Missouri
for the successful prosecution in the matter U.S. vs. Dr. Anthony Colandro.

Distinguished Service Award — U.S. Department of Justice, United States
Attorney’s Office, Eastern District of Missouri, for the successful
investigation and prosecution in the matter U.S. vs. Martin Sigillito.

Distinguished Service Award — U.S. Department of Justice, United States
Attorney’s Office, Eastern District of Missouri, for the successful
investigation and prosecution in the matter U.S. vs. Don Weir.

Distinguished Service Award — U.S. Department of Justice, United States
Attorney’s Office, Eastern District of Missouri, for the successful
investigation and prosecution in the matter U.S. vs. Gary Gerhardt.

Distinguished Service Award — U.S. Department of Justice, United States
Attorney’s Office, Eastern District of Missouri, for the successful
investigation and prosecution in the matter U.S. vs. Andre Mitchell and
Henry Allen.

Certificate of Achievement — Federal Bureau of Investigation, Director’s
Office for the successful investigation and arrest in the matter U.S. vs.
James Franklin Jones.

Distinguished Service Award — U.S. Department of Justice, United States
Attorney’s Office, Eastern District of Missouri, for the successful
investigation and prosecution in the matter U.S. vs. Jeffery Thomas et al.

Distinguished Service Award — U.S. Department of Justice, United States
Attorney’s Office, Eastern District of Missouri, for the successful
investigation and prosecution in the matter U.S. vs. Arthur Stevenson.

Commendation - St. Louis County, Missouri Police Department, for the
arrest of an individual wanted for Burglary, Robbery, and Assault 1st
Degree of a Law Enforcement Officer.

FBI Possible Club Medal — Federal Bureau of Investigation, Firearms
Training Unit.
Case 1:21-cr-00003-RCL Document 18 Filed 03/04/21 Page 19 of 19

COSENTINO 6

Articles:

“Health Care Fraud in America” — Fraternal Order of Police, Missouri State Lodge
Journal, Spring 1994

Board Memberships:
Board of Governors for the Special Agents Insurance Fund February 2010—December 2014

The Board of Governors for the Special Agents Insurance Fund (SAIF), a benevolent fund,
representing 14,000 active duty FBI Special Agents. Duties include exercising diligence
and care in the direction and control of the business management and affairs of the SAIF
to include levying assessments, authorizing contracts, and investing and expending funds.

Board of Governors for the Charles S. Ross Fund February 2010 — December 2014

The Board of Governors (BOG) for the Charles S. Ross Fund (CSRF), a benevolent fund,
representing 14,000 active duty FBI Special Agents. The BOG acts as advisors to the
Director of the FBI, in his capacity as Trustee of the CSRF, on matters regarding
investment of Ross funds and payment of benefits.
